Case 1:04-cv-01136-UNA Document 1-1 Filed 07/02/04 Page 1 of 7

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

OMAR AHMED KHADR

FATMAH ELSAMNAH,
As Next Friend Of
OMAR AHMED KHADR

Petitioners,
Vv.

GEORGE WALKER BUSH,
President of the United States

DONALD RUMSFELD,
Secretary, United States
Department of Defense

MAJ. GEN. GEOFFERY MILLER,
Commander, Joint Task
Force - GIMO
Guantanamo Bay Naval Station
Guantanamo Bay, Cuba

ARMY COL. NELSON J. CANNON,
Commander, Camp Delta
Guantanamo Bay Naval Station
Guantanamo Bay, Cuba

Neer Name” Sanaa” Somer” Seen” Sanne Same” Seamed” nant” ee! Seana een” ana Seer! Sea” Seanuee! Sanat! Samer” Smet? mage Senet Smet! gare! aig Seaguet! Sagget! amet! anmet! agatt!

Defendants.

AFFIDAVIT OF FATMAH ELSAMNAH

I, FATMAH ELSAMNAH, of 3 Khartoum Avenue, Scarborough, Ontario,
Canada, being duly sworn, depose and state as follows:

1. I am the grandmother of the First Petitioner, Omar and am co-petitioning this
court as his Next Friend, and as such have knowledge of the matters hereinafter
deposed.
Case 1:04-cv-01136-UNA Document 1-1 Filed 07/02/04 Page 2 of 7

Go

ow

10.

2

The First Petitioner is presently detained by the United States military at Camp X-
Ray, Guantanamo Bay Naval Station, Cuba (Guantanamo). He has been detained
there since approximately the late fall of 2002. To my knowledge, he has never
been charged with any offence, nor has he ever been permitted to receive visits
from his family or legal counsel. Nor has he been brought before a judicial officer
of any properly constituted court or tribunal since his detention.

From my knowledge of his nature, I know that Omar would want me to take legal
proceedings on his behalf and to challenge the lawfulness of his detention. To this
end, I have retained the services of two Edmonton area solicitors, Messrs. Dennis
Edney and Nathan Whitling.

I have received several brief postcards and messages from Omar marked
“CLEARED BY U.S. FORCES” which indicate that he has been assigned
Detainee identification “JJJGFF”. Omar has asked many times why I do not write
to him.

In fact I have attempted to write letters to Omar through the Red Cross. In these
letters I have tried to tell Omar that I have retained lawyers to try and help him.
To my knowledge, Omar has not been provided with these letters.

It is my belief based on everything I know about Omar, that my grandson is
seeking my assistance and support and would want me to take appropriate legal
action on his behalf. Consequently, I wish to act as his "next friend.” In this
capacity, I have retained and hereby request and authorize Michael Ratner,
attorney, of the Center for Constitutional Rights (CCR) in New York, and any
lawyers associated with CCR, to act on my own and my grandson Omar’s behalf
and to take whatever legal steps they consider to be in our best interests.

After my parents moved to Egypt from Palestine, I was born on August 19, 1939.
I married my husband Mohammed ElSamnah 48 years ago, in 1956, while we
were living in Egypt.

My first three children were born while we lived in Egypt. My eldest child is my
daughter, Maha, who was born on July 30, 1957. She is Omar’s mother.

We moved from Egypt to Saudi Arabia in 1961. My fourth child was born in that
country,

My husband had no formal education. He and his brother had a store together, and
T recall that they had discussions that work prospects were better in Canada than
in Saudi Arabia. My husband’s brother moved to Canada, and my husband and I
discussed the idea of moving our family to join his brother in Canada to make a
better life for ourselves. My husband, our four children and myself migrated to
Canada on August 1, 1974. My fifth child was born in Canada.
Case 1:04-cv-01136-UNA Document 1-1 Filed 07/02/04 Page 3 of 7

11.

12.

14.

16,

17.

18.

20.

4
3

After we arrived in Canada, my daughter, Maha, began her schooling in Canada
when she was 17 years old at T.L. Kennedy Secondary School in Mississauga,
Ontario.

It was around two years later that Maha met Ahmed Said Khadr, Omar’s father.
Ahmed Said Khadr was around 20 years old, I recall, working on his Master’s
degree in computer engineering in Ottawa, Ontario.

In 1977 they were married in a secular wedding. A religious wedding took place
roughly one year later, in 1978.

My parents brought me up with the traditional Muslim ideals as set out in the
Quran. These ideals included morality in speech and action, respect for others, the
requirement that you never take another life, and the sanctity of family. Although
my children were all schooled in the public school system, all of them having
attended T.L. Kennedy Secondary School, I instilled these ideals in my children,
as well.

After Maha married Ahmed Said, she went with him to Ottawa, where they stayed
until he finished his Master’s degree. They remained there after he was hired by
Bell Canada, working in the telecommunications field.

In Ottawa, they had a number of children. Their first daughter, Zayneb, was born
in October, 1979. Their son Abdullah was born in April, 1981, and their second
son Abdurahman was born in December, 1982. In 1985, they gave birth to
Ibrahim, a boy who passed away a few years later in January, 1988. Omar was
born on September 19, 1986, and his younger brother Abdulkareem was born in
1989. Maryam, their youngest daughter, was born in 1991,

I recall that the family lived in Ottawa until 1982. After a couple years, Bell
Canada had let Ahmed Said go during a downsizing. He stayed in Ottawa looking
for work, but was unable to find employment there. I recall that around this time
he had suffered some injuries in a car accident, and was going for regular therapy.

Ultimately, he found work in Bahrain, teaching at the Polytechnic University. I
believe that he was teaching computers and mathematics. Since this was in the
early 1980’s, Omar would not have even been born, yet.

After his contract was finished teaching in Bahrain, in around 1984 Ahmed Said
found work in Pakistan managing at different time various relief organizations for
Afghanistan. As I recall, this work was generally based in Pakistan, and involved
finding doctors to work with orphans and the injured in Afghanistan.

Ahmed Said would regularly return to Canada, sometimes with the children,
sometimes alone. When Maha was pregnant with Omar in 1986, she returned to
Canada and stayed in my home for a number of months. Even after Omar was
Case 1:04-cv-01136-UNA Document 1-1 Filed 07/02/04 Page 4 of 7

22.

4

born, Maha would return with the children to Canada and stay at my home for a
few months yearly.

I recall that in 1995 I went to visit Maha, Ahmed Said, and my grandchildren in
Pakistan for around a month. I was thrilled to see my grandchildren, but I did not
enjoy the stay. The amenities in Pakistan could not compare to those in Canada,
and I enjoy the conveniences of life in North America.

When my daughter was abroad she would call me and write to me often, and we
would talk freely. I recall that she would tell me how Ahmed Said would often get
so caught up in his work that he did not spend much time raising the children.

From our discussions I believe that my daughter raised her children with the same
values that I was raised with, and that I instilled in her —- respect for human life
being paramount. I was never given any reason to believe that she or her husband
was teaching anything negative to their children about North America. In fact, to
the opposite, when the children came here for visits, they deeply enjoyed their
time in Canada.

I recall that when I spoke to the family about Omar I would be told how much he
enjoyed school, loved to read, and worked hard to achieve in class. He always
obeyed the rules in class, never skipped, always did his homework.

He also loved to stay fit - he played soccer, and exercised at a local kung fu
studio in Pakistan. When he was 14 he was average build for an adolescent,

cope

around 5°7”; taller than me.

He was very close to his mother, and wanted to make her happy. He was a very
honest child ~ when his brothers would play a joke on each other he would always
be the one to go back to their mother to explain what happened.

Omar never got into trouble, and he certainly never had any problems with the
police.

Ahmed Said never had any problems with the police, either, until 1995 when it
was alleged that he was involved in the bombing of an Egyptian embassy.

In 1995 Omar was 9 years old. Ahmed Said was arrested, and spent 6 months in
jail in Islamabad. 3 of those months were spent in a hospital because he was on a
hunger strike to protest his innocence.

Jean Chretien, ex-prime minister of Canada, became involved in making
representations on his behalf, and after a period of time Ahmed Said was released
on bail.
Case 1:04-cv-01136-UNA Document 1-1 Filed 07/02/04 Page 5 of 7

t
WW

Lo
he

had
Oo

40,

4],

2

5

Omar and his brothers came to Canada and lived in my home in 1996. After they
lived there for around 3 or 4 months, Ahmed Said returned to Canada and he also
lived in my home. They all stayed in my home together for around another 3 or 4
months.

Of all the children, Omar was the kindest and most respectful. He was very polite
and clean, and would often offer to help with household chores.

My husband, his grandfather, was also very fond of him. Especially during the
summer, whenever my husband would go to the mosque for prayers, afterwards
Omar and him would go to the Scarborough Bluffs Park and spend time together
talking and feeding the pigeons.

After the children had stayed at my home for around 7 or 8 months, their father
decided to take the family back to Pakistan. His bail required him to return to
address his charges.

l asked Ahmed Said to let the children stay in Canada, but he would hear nothing
of it. Maha diligently followed his wishes, and the entire family returned to
Pakistan around the end of 1996 or beginning of 1997.

l understand that Ahmed Said’s charges were ultimately dismissed by the courts.

After this, Ahmed Said no longer had employment in Pakistan. I was told that
rather than working for any other humanitarian aid organization, he started his
own organization. The cost of living was very high in Pakistan, and since he was
mainly working in Afghanistan with orphans, and many Afghanis were moving
back from Pakistan anyways, the family moved to Kabul, Afghanistan to live.
Ahmed Said continued working with orphans and others in humanitarian aid.

I have been told that on November 11, 2001 Ahmed Said instructed Abdurahman
to hire a truck to move the family belongings out of their house and into one of
the orphanages. Kabul was being bombed, and so it seemed natural to move to the
quieter area where the orphanage was located.

I have been further advised that when Abdurahman got the truck, he and Omar
loaded it up. Omar then rode on top of the truck, Abdurahman rode inside. They
were laughing and playing on the drive, but when they got to the orphanage
Abdurahman realized that he had no money with him to pay the driver.

After they unloaded the truck I am told that Omar stayed at the orphanage, and
Abdurahman went with the driver, hoping to go back to Kabul to meet with
Ahmed Said to get some money for the driver.

I am told that, because of the late hour, the driver suggested to Abdurahman that
he stay at his house that night and they would go in the morning to get the money.
Case 1:04-cv-01136-UNA Document 1-1 Filed 07/02/04 Page 6 of 7

42.

44,

ts
tA

46.

47,

48.

49,

6

I am advised that in the morning, when they were en route to get the money,
Abdurahman was taken into custody by a group of people who identified
themselves as the Northern Alliance. They threatened to sell him to “the
Intelligence” unless he paid them.

I am told that a person who identified himself as a former commander of the
Northern Alliance told Abdurahman that he would have to pay $10,000 US or else
the commander would surrender him to the Americans. A month later the ransom
doubled.

I was never aware of all of this at the time, but I do recall that at some point an
unknown person called me demanding $2000.00. I called back, but was unable to
provide the money.

Eventually, after around two and a half months with this commander, I am told
that Abdurahman was sent to the Afghani Interim Government Interior Ministry.
During this time I am told that Abdurahman had no contact with his father.

The Ministry was unsure of what to do with Abdurahman. I was told that he was
never advised of the reason why he was being held — only that he was an Arab,
and they wanted to question him. He was held as a guest of the Ministry for one
and a half months.

I am advised that he was then held for a further month and a half, now as a
detainee instead of as a guest.

I am told that Abdurahman was detained for a further month and a half by the
National Directorate of Security, and I am told that he then moved to a second
detention center where he stayed for a further month and a half.

I am advised that he was then moved to an American detention center, where he
stayed for 9 months. He indicates that he was questioned by the Americans on a
regular basis there.

He was then moved to Bagram for 10 days, and then flown to Guantanamo Bay
Naval Station in Guantanamo Bay, Cuba.

Abdurahman stayed in Guantanamo Bay for seven or eight months. While there
he discovered in December of 2002 that Omar had been arrested on July 27, 2002,
when Omar was 15 years old. He was told that Omar was arrested in a house with
other people. The house was bombed, and then ground forces entered the house.
Everyone in the house was dead, and one American soldier was injured during the
raid, and died a number of days later.
Case 1:04-cv-01136-UNA Document 1-1 Filed 07/02/04 Page 7 of 7

54,

7

Omar was trapped under a wall that fell on him. When he was taken into custody
he had two bullet holes in his chest, one bullet in his stomach, and left eve’s
vision was reduced by 70%.

During his time at Guantanamo Bay, I am advised that Abdurahman never saw
Omar. However, they did speak one time through a fence. Omar expressed
concerns over his health and the fact that, without medical attention, he would
completely lose the sight in his left eye.

I have been advised that, even though Omar was so young when he was arrested,
he has always been kept in the general adult population in Guantanamo Bay.

Tam Omar’s grandmother, and have known him all his life. He never chose to
move to Afghanistan, but was following his father’s wishes. I believe that I am
familiar with his character, and I do not believe that this child is capable of
committing acts of terror.

I make this affidavit from my personal knowledge or from information conveyed
to me, for the purpose of this petition and for no other purpose or motive.

SWORN BEFORE ME this /O day)
of HMALCH  , 2004 in the City of Toronto)
in the Municipality of Metropolitan )

Toronto, in the Province of Ontario, in

the Country of Canada.
4

James H, Silver
A Gonmnissiener for taking oaths
in and for the Province of Ontario

  
  
 

j- >

LOE
Fatmah Elsamnah

)
)
) 4
) Xe . rE lng Puc el
)
)
)
)
